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 4
                                   UNITED STATES DISTRICT COURT
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                                         DISTRICT OF NEVADA
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 7
     UNITED STATES OF AMERICA,            )
 8                                        )               CA-10-10529
                                          )
 9                   Plaintiff-Appellee,  )               2:09-CR-262-JCM
               vs.                        )
10                                        )
   JOSE LUIS RUBIO-RODRIGUEZ,             )
11                                        )
                     Defendant-Appellant. )                ORDER
12 ____________________________________)
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            Pursuant to the order filed December 9, 2010, by the Ninth Circuit Court of Appeals directing
14
     the appointment of counsel for appellant, IT IS HERE BY ORDERED THAT Mace Yampolsky is
15
     appointed to represent Jose Luis Rubio -Rodriguez for this appeal in place of attorney Jonathan
16
     Powell. Mr. Yampolsky’s address is 625 S. 6th St., Las Vegas, NV 89101 and phone number is 702-
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     385-9777.
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            Mr. Powell is directed to forward the file to Mr. Yampolsky forthwith.
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            The clerk is directed to forward a copy of this order to the Clerk of the 9th Circuit Court of
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     Appeals at counselappointments@ca9.uscourts.gov.
21
            DATED this 14th day of December, 2010
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23                                                        _______________________________
                                                          James C. Mahan
24                                                        United States District Judge

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